              Case 19-63948-bem                   Doc 1     Filed 09/03/19 Entered 09/03/19 11:50:09                               Desc Main
                                                            Document     Page 1 of 11
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CEED PROPERTIES LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3429 Covington HWY
                                  Suite C
                                  Decatur, GA 30032
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
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                                                                                         11 number (if known)
          CEED PROPERTIES LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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Debtor
                                                              Document     Page 3 of Case
                                                                                      11 number (if known)
         CEED PROPERTIES LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                             Document     Page 4 of Case
                                                                                     11 number (if known)
          CEED PROPERTIES LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 3, 2019
                                                  MM / DD / YYYY


                             X   /s/ Harold C. Johnson, Jr.                                              Harold C. Johnson, Jr.
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ David A. Geiger                                                      Date September 3, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 David A. Geiger
                                 Printed name

                                 Geiger Law, LLC
                                 Firm name

                                 1275 Peachtree Street, NE
                                 Suite 525
                                 Atlanta, GA 30309
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-815-0040                  Email address      david@geigerlawllc.com

                                 288898 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                   UNANIMOUS CONSENT RESOLUTION OF MEMBERS

        The undersigned, being the manager and sole member of CEED PROPERTIES, LLC, a
Georgia limited liability company (the “Company”), does hereby expressly waive and relinquish
the right to receive, prior to executing this consent, any material required to be furnished in a
notice to members and does further give his written consent (a) to the dispensation of a notice of
a meeting of the members of the Company; and (b) to the taking of the following actions, which
actions could have been taken by him had said meeting been held:

        “NOW, THEREFORE, BE IT RESOLVED: That the manager of this Company be, and
he hereby is, authorized on behalf of the Company to prepare, execute and file the Company’s
Voluntary Petition for Relief under Chapter 11 of Title 11 of the United States Code (the
“Chapter 11 Case”) and all of the necessary papers in connection therewith, in the United States
Bankruptcy Court for the Northern District of Georgia, and further to such end, to do any other
acts, executes all necessary documents and takes any other steps in the name of and on behalf of
the Company, necessary or appropriate to obtaining such relief, including the presentation of a
Plan of Reorganization; and

        BE IT FURTHER RESOLVED, that the Company shall retain the services of
professionals to assist the Company in preparing and filing the Chapter 11 Case, and to represent
and assist the Company in carrying out its duties in the Chapter 11 Case and the manager is
hereby authorized and directed to take appropriate actions to retain said professionals and to
execute appropriate retention agreements and pay appropriate retainers prior to the filing of the
Chapter 11 Case, and immediately upon the filing of the Chapter 11 Case, to file, or cause to be
filed, an appropriate application or applications with the Bankruptcy Court for authority to retain
the services of professionals for said purpose. The said professionals currently consist of the
following named firm, believed to be properly qualified to act as professional in said case:
Geiger Law, LLC of Atlanta, Georgia. In connection therewith, the said professional is to be
compensated for their services and expenses on the bases of prior agreements and/or their usual
and customary fees and expenses including retainers, subject to approval of the Bankruptcy
Court; and

         BE IT FURTHER RESOLVED, that the manager is hereby authorized, upon consultation
with such persons (including professionals), as the manager may deem appropriate and proper, to
file or cause to be filed, applications for authority to retain the services of other professionals for
specified purposes, including litigation and to compensate them at the rate of their usual fees and
expenses, including retainers, subject to the approval of the Bankruptcy Court; and

        BE IT FURTHER RESOLVED, that in connection with the foregoing, the manager is
hereby authorized and directed to execute and cause to be filed in the Voluntary Petition for
Relief under Chapter 11 of Title 11 of the United States Code, and any and all other documents
which the manager deems appropriate.”

       Dated this 3rd day of September, 2019
                                           ____/s/ Harold C. Johnson, Jr.____________
                                           Harold C. Johnson, Jr., Manager and Sole Member
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 Fill in this information to identify the case:

 Debtor name         CEED PROPERTIES LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 3, 2019                       X /s/ Harold C. Johnson, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Harold C. Johnson, Jr.
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name CEED PROPERTIES LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DeKalb County Tax                                               Real Property                                                                                            $27,327.61
 Commissioner                                                    Taxes
 PO Box 100004
 Decatur, GA
 30031-7004
 Georgia Power                                                   electric service                                                                                           $1,247.07
 96 Annex
 Attn: Bankruptcy
 Atlanta, GA
 30396-0001
 Meade Doors                                                     Claimed reutrn of      Disputed                                                                            $7,000.00
                                                                 security deposit




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                     Northern District of Georgia
 In re      CEED PROPERTIES LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Harold C. Johnson, Jr.                                                               100%                                       Membership Interests



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 3, 2019                                                      Signature /s/ Harold C. Johnson, Jr.
                                                                                            Harold C. Johnson, Jr.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      CEED PROPERTIES LLC                                                                          Case No.
                                                                                   Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 3, 2019                                          /s/ Harold C. Johnson, Jr.
                                                                        Harold C. Johnson, Jr./Manager
                                                                        Signer/Title




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Bank OZK
c/o Mark Melnikoff
6639 Hwy. 53 East
Dawsonville, GA 30534

Barbara Johnson
29 Dartmouth Avenue
Avondale Estates, GA 30002

DeKalb County Tax Commissioner
PO Box 100004
Decatur, GA 30031-7004

Family Dollar Stores of Georgia, Inc.
Lease Administration Deptartment
PO Box 1017
Charlotte, NC 28201-1017

Georgia Power
96 Annex
Attn: Bankruptcy
Atlanta, GA 30396-0001

Godfather Customs
3429 Covington HWY
Suite B
Decatur, GA 30032

Meade Doors


Ron Bingham
Adams and Reese LLP
3424 Peachtree Road NE
Atlanta, GA 30326

Strada Wheels Inc.
560 S Magnolia Ave
Ontario, CA 91762
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                                                                      Northern District of Georgia
 In re      CEED PROPERTIES LLC                                                                        Case No.
                                                                                    Debtor(s)          Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CEED PROPERTIES LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 3, 2019                                                     /s/ David A. Geiger
 Date                                                                  David A. Geiger
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for CEED PROPERTIES LLC
                                                                       Geiger Law, LLC
                                                                       1275 Peachtree Street, NE
                                                                       Suite 525
                                                                       Atlanta, GA 30309
                                                                       404-815-0040 Fax:404-549-4312
                                                                       david@geigerlawllc.com




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